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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           Case No.: 19CR4240-JLS
                                        Plaintiff,                 19CR7056-JLS
12
13   v.                                                  ORDER CONTINUING SENTENCING
                                                         HEARING AND SUPERVISED RELEASE
14   JEFFREY LAWRENCE HARRELL,                           REVOCATION HEARING
15                                    Defendant.
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17           Defendant has not filed a sentencing summary chart as required by Local Criminal
18   Rule 32.1(a)(8). Accordingly, the Court hereby VACATES the Sentencing Hearing
19   currently set for May 7, 2021; the hearing is CONTINUED to Friday, July 9, 2021 at
20   10:30 a.m.
21           The Supervised Release Revocation Hearing set for May 7, 2021 is also continued
22   to Friday, July 9, 2021 at 10:30 a.m.
23           IT IS SO ORDERED.
24   Dated: May 5, 2021
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